 

RON MICHAEL MENEO, ESQ. (CT BAR LICENSE# 307095) ™ | | FE D
MENEOLAW, PLLC - THE MENEO LAW GROUP a

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Attorneys for Direct Abuse Survivor Claimants

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re:
BOY SCOUTS OF AMERICA AND Chapter 11

Case No. 20-10343 (LSS)
DELAWARE BSA, LLC (Jointly Administered)

Debtors

 

BANKRUPTCY RULE 2019 STATEMENT

TO THE CLERK OF THE BANKRUPTCY COURT AND TO ALL PARTIES IN INTEREST

In accordance with Rule 2019 of the Federal Rules of Bankruptcy Procedure, MeneoLaw,
PLLC - The Meneo Law Group (“MLG”), counsel for certain individual holders of Direct Abuse

Claims, states the following:
1. Names and Addresses of Parties Represented by MLG.

MLG has been retained by certain individuals who are Holders of Direct Abuse Claims to
represent them in the above-captioned Chapter 11 Case. In accordance with the “Class 8 Direct
Abuse Master Ballot,” MLG has redacted/removed from this Rule 2019 Disclosure Statement
the names, addresses and personal identifying information of the individual Abuse Survivors it
represents but is supplying such information with the Master Ballot and Exhibit submission to

the Solicitation Agent.
2. Facts and Circumstances of Representation of Abuse Survivor Clients.

MLG has been retained by the individual Abuse Survivors to represent them as tort
claimants in the above-captioned Chapter 11 Case. An exemplar of the Retainer Agreement

signed by each such individual Abuse Survivor is attached hereto as an Exhibit.

|, Ron Michael Meneo, Esq. declare under the penalty of perjury under the laws of the
United States of America that | have read the foregoing statement and that it is true and correct

to the best of my knowledge and belief.

DATED: November 16, 2021 Cae ff

Ron Michael Meneo, Esq.

 
EXHIBIT

EXEMPLAR OF ENGAGEMENT AGREEMENT
MENEOLAW, PLLC - THE MENEOLAW GROUP

LIMITED SCOPE RETAINER AGREEMENT - BOY SCOUTS OF AMERICA ABUSE CLAIM

I, of , hereby retain MeneoLaw, PLLC (“MLPLLC’), to
represent me and my heirs, successors and assigns for the sole and limited purpose of preparing, filing
and prosecuting a claim for childhood sexual abuse against the Boy Scouts of America (“BSA”) in
the Chapter 11 Bankruptcy proceeding filed by BSA in the United States Bankruptcy Court in
Delaware (herein the “Claim”). MLPLLC will not pursue any other claims concerning the abuse
against any other party who may be liable for the abuse reported by me including the perpetrator of
the abuse and any culpable local Boy Scouts council, troop or scout leaders. | acknowledge and
agree that if MLPLLC, after its diligent review and investigation of my potential Claim, concludes that a
viable claim in the BSA Chapter 11 Bankruptcy proceeding cannot be pursued on my behalf, MLPLLC shall
have the right to withdraw as my attorney, cancel this agreement and promptly provide written notice
thereof to me. | further acknowledge and agree that there is no guarantee that my Claim will be
successful and that | will receive any compensation for my Claim. Additional terms of representation
are as follows:

. Contingent Legal Fee.

The legal fee described herein is a contingent fee; MLPLLC will only be entitled to a legal fee
if MLPLLC is successful in obtaining compensation for me through the filing of my Claim in the BSA
Chapter 11 Bankruptcy proceeding. The total legal fee to be paid by me shall be equal to THIRTY-THREE
AND ONE-THIRD PERCENT (33 1/3%) of the total amount recovered (‘gross settlement” or “gross recovery”)
before deduction of costs and/or liens. | authorize MLPLLC to deduct the total legal fee and costs out of
monies received for my Claim.

. Costs and Liens.

MLPLLC will advance all costs necessary to file my Claim. MLPLLC will be reimbursed for any such
costs out of the gross settlement. However, if MLPLLC is unable to obtain a recovery for me, | will not
be responsible for any costs. | affirm and agree that the costs of my medical care and treatment are not a
cost for which MLPLLC has any responsibility.

| understand, acknowledge and agree that (1) | am solely responsible for the satisfaction of any
Medicare, Medicaid and healthcare liens or claims for reimbursement of medical care and treatment asserted
against me and any recovery that may be obtained as a result of my Claim; and (2) MLPLLC is subject to
laws and regulations that require it to (a) inquire about Medicare and Medicaid liens or claims for
reimbursement and (b) address any such liens or claims for reimbursement before distributing any net
proceeds from my Claim..
3. In General

| hereby further agree that | shall not enter into any settlement or take part in any settlement
negotiations without prior written permission of my attorneys. This fee agreement applies to all services
rendered up to, and including, a determination of my Claim. but not to matters ancillary to the Claim such as
probate court proceedings, guardianships, and appeals. Any disagreements that arise between MLPLLC and
me, with respect to fees and costs and expenses due, shall be settled by binding arbitration. | hereby
acknowledge and agree that this Retainer Agreement (and all of its terms and conditions) is and shall be
binding upon my heirs, executors and legal representatives and such terms and conditions, as set forth
herein, shall apply to them as if they were original parties to this Retainer agreement. At the conclusion of
this matter, MLPLLC will retain my file for a period of 3 years after my file is closed. After such 3-year period
and subject to any local requirements concerning attorney-financial records, MLPLLC will destroy my file
unless | notify MLPLLC in writing that | wish to take possession of it.

Client: MeneoLaw, PLLC

Date:

 

 

By: Ron Michael Meneo, Esq.
 

CERTIFIED MAIL’

THE MENEO LAW GROUP

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